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Counsel for Defendant LEONARD YANG




                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                            Case No.: 2:16-cr-00189 KJM
                            Plaintiff,               STIPULATION AND ORDER FOR
                                                     REMOVAL OF PRETRIAL RELEASE
vs.                                                  CONDITION OF ELECTRONIC
                                                     MONITORING
LEONARD YANG,
                            Defendant.



                                         STIPULATION


       MR. LEONARD YANG, defendant herein, is presently released on bail in connection

with the above-numbered case, and residing in Columbus, Ohio. He is being monitored by

Pretrial Services Office for the Southern District of Ohio utilizing a home electronic ankle

monitor (as authorized by Document 15, Special Conditions of Release, Clerk’s Record in the

above-numbered case which specifically authorizes that Mr. Yang be restricted to the Eastern

District of California and the Southern District of Ohio).

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        U.S. Pretrial Services Officer Darryl Walker, assigned in the Eastern District of

California to monitor Mr. Leonard Yang’s conditions of release, recommends that the condition

of Electronic Monitoring is no longer necessary. Mr. Walker cites that Mr. Yang has been on

Pretrial Supervision since December 2016 with no violations, has been drug free, and employed

since the inception of his pretrial release. Mr. Walker’s office telephone number is (916) 930-

4360.

        IT IS HEREBY STIPULATED by and between the parties hereto through their

respective undersigned counsel, that based upon Mr. Walker’s recommendation, and history of

compliance by Mr. Leonard Yang with his pretrial release conditions, the pretrial condition of

electronic monitoring be removed. All other conditions heretofore ordered shall remain in full

force and effect and Mr. Yang shall with comply with the same, and continue to be monitored by

the United States Pretrial Services Office in the Eastern District of California and the Southern

District of Ohio. Further, Mr. Yang shall attend all required court appearances as ordered.



        Dated: January 31, 2018

                                                     /S/ Robert M. Holley
                                                     _______________________________
                                                     Mr. Robert M. Holley, Esq.
                                                     Counsel for Mr. Yang


                                                     /S/ Mr. Roger Yang, Esq. (by RMH)
                                                      _______________________________
                                                     Mr. Roger Yang, Esq.
                                                     Assistant United States Attorney
                                                     Counsel for the United States




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                                   ORDER


      GOOD CAUSE APPEARING, IT IS SO ORDERED.

Dated: February 1, 2018




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